     Case: 1:25-cv-03829 Document #: 1 Filed: 04/09/25 Page 1 of 94 PageID #:1
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                               UNITED STATES DISTRICT COI]RT
                               NoRTHERN DISTRICT 0F ILLINOIS

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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF INDIANA
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2. What is your address?



3. What is your telephone number:                (_)
4. Have you eyer-sdd anyone for these exact same claims?
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     Case: 1:25-cv-03829 Document #: 1 Filed: 04/09/25 Page 3 of 94 PageID #:3


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                                              CIVIL COMPLAINT
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2. What is your address?



3. What is your telephone number:               (_)
4. Have you ever sued anyone for these exact same claims?
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       Case: 1:25-cv-03829 Document #: 1 Filed: 04/09/25 Page 6 of 94 PageID #:6


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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
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                                                CIVIL COMPLAINT
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                     UNITED STATES DISTRICT COURT
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3. What is your telephone number:            (_)
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         0NND Rd../24)                                                                                                         Page l




                               UNITED STATES DISTRICT COURT
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Claims and Facts (continued)

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          No, I am filing a Motion to Proceed ln Forma Pauperis and asking the court to notify the
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          I will keep a copy of thi; complaint for my records.

          I will promptly notify the court of any change of address.

          I declare under oenalt\i'of periurv that the statements in this complaint are true.




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 Claims and Facts (continued)

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 DO: Write a short and plain statement telling what each defendant did wrong.
 DO: Use simple English words and sentences.
            DO NOT: Quote from cases or statutes, use legalterms, or make legal arguments.
 DO: Explain when, where, why, and how these events happened.
 DO: lnclude every fact necessary to explain your case and describe your injuries or damages.
 DO: Number any documents you attach and refer to them by number in your complaint.
            DO NOT: lnclude the names of minors, socialsecurity numbers, or dates of birth.
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        Claims and Facts (continued)




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Claims and Facts (continued)

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Claims and Facts (co ntin u ed )

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         DO: Write a short and plain statement telling what each defendant did wrong.

         DO: Use simple English words and sentences.
                    DO NOT: Quote from cases or statutes, use legal terms, or make legalarguments.
         DO: Explain when, where, why, and how these events happened.
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                                                      CLAIMS and FACTS

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 Claim        nd Facts (continued)

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RELIEF - lf you win this c ase , what do you              nt the         to   der the defendant to do?




FILING FEE - are you paying the fiting fee?
          e         paying the 5405.00 filing fee. I understand that I am responsible to notify the
         defenda nt a bout th is case as req uired by Federal Ru le of Civil Procedu re 4. lt you wont the
         clerk to sign ond seol o summons, you need to prepore the summons ond submit it to the clerk.l
          No, I am filing a Motion to Proceed ln Forma Pauperis and asking the court to notify the
          defendant a bout this case.


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                 kee p aco py of this complaint for my records.
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Signatu re                                                                      Date


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                ill kee a copy of this complaint for my records.
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                                               CLAIMS and FACTS

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                                               CLAIMS and FACTS

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                                             CLAIMS and FACTS
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                                               CLAIMS and FACTS

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                                            CLAIMS and FACTS

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                                                  CLAIMS and FACTS

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      Claims and Facts (continued)




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  RELIEF - rr                   n this case, wha     o you want the court to order          e defenda nt to do?




  FILING FEE-areyou paying the filing fee?

            Ql/es, I am paying the 5405.00 filing fee. I understand that I am responsible to notify the
               defendant about this case as required by Federal Rule of Civil Procedure 4. Ul you wont the
              clerk to sign ond seol o summons, you need to prepore the summons ond submit it to the cterk.)

               No, I am filing a Motion to Proceed ln Forma Pauperis and asking the court to notify the
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                  ill promptly notify the court of any change of address
               ldeclare      er e        of r u that the statements in this complaint are true.




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                                           CLAIMS and FACTS

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Claims and Facts (contin ed)




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RELIEF - lf you win this case, what do you want the court to order the defendant to do?




FILING FEE-nreyou paying the filing fee?

     QYes, I am paying the $405.00 filing fee. I understand that I am responsible to notify the
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          No, I am filing a Motion to Proceed ln Forma Pauperis and asking the court to notify the
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lnitiol Eoch Stotementl
          I will keep a copy of this complaint for my records.

          I will promptly notify the court of any change of address.
          I declare under penaltv of periury that the statements in this complaint are true




Signature                                                                         Date


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AO 440 (R.v.06/12) Summons in E Civil Aclion


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          A lawsuit has been tiled against you.
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are the United Statcs or a Unitcd States agency, or an officcr or cmploycc ofthe United States described in Fed. R. Civ.
P. l2 (a)(2) or (3)   you must s€rve on the plaintiffan answer to the attached complaint or a motion under Rule l2 of
                      -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiffor plaintiffs attomey,
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          Ifyou fail to respond, judgment by deraul{will bc cntcred against you for the reliefdemanded in the comptaint
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
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     Case: 1:25-cv-03829 Document #: 1 Filed: 04/09/25 Page 56 of 94 PageID #:56


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                                           CLAIMS and FACTS

 DO: Write a short and plain statement telling what each defendant did wrong.

 DO: Use simple English words and sentences.
          DO NOT: Quote from cases or statutes, use legal terms, or make legal arguments.
 DO: Explain when, where, why, and how these events happened.
 DO: lnclude every fact necessary to explain your case and describe your injuries or damages.
 DO: Number any documents you attach and refer to them by number in your complaint.
          DO NOT: lnclude the names of minors, social security numbers, or dates of birth.
 DO: Use each defendant's name every time you refer to that defendant.
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                                             CLAIMS and FACTS

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      DO: Write a short and plain statement telling what each defendant did wrong.

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DO: Write a short and plain statement telling what each defendant did wrong.
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DO: Write a short and plain statement telling what each defendant did wrong.

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        defendant about this case as required by Federal Rule of Civil procedure 4. Itf you wont the
        clerk to sign ond seol o summons, you need to prcpore the summons ond submit it to the clerk.l

         No, I am filing a Motion to Proceed ln Forma Pauperis and asking the court to notify the
         defendant a bout this case.


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           will keep a copy of this complaint for my records.
7:r.     I will promptly notify the court of any change of address.
         I declare under oenaltv of oeriurv that the statements in this complaint are true.




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                                        CLAIMS and FACTS

DO: Write a short and plain statement telling what each defendant did wrong.
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Claims and Facts (continued)




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 Claims and Facts (continued)
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        defendant about th is case as requ ired by Federal Ru le of Civil procedure 4. ltf you wont the
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           No, I am filing a Motion to Proceed ln Forma Pauperis and asking the court to notify the
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           I will keep a copy of this complaint for my records.

           I will promptly notify the court of any change of address.
           I declare under oenaltv of oeriurv that the statements in this complaint are true




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 Claims and Facts (continued)

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       defendant about this case as required by Federal Rule of Civil procedure 4. ltfyou wont the
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          No, I am filing a Motion to Proceed ln Forma Pauperis and asking the court to notify the
          defenda nt about this case.


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          I will keep a copy of this complaint for my records

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         Claims and Facts (continued)



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                     No, I am filing a Motion to Proceed ln Forma Pauperis and asking the court to notify the
                     defenda nt a bout this case.


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                     I will keep a copy of this complaint for my records.

                     lwill promptly notify the court of any change of address.
                     I declare under penaltv of periurv that the statements in this complaint are true




        Sig n        re                                                                    Date


                     IDO NOT w te in the morgins ot on the bock of ony poges. Attoch odditionol poges il necessory.l
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            clerk to sign ond seol o summons, you need to prcpore the summons ond submit it to the clerk.l

             No, I am filing a Motion to Proceed ln Forma Pauperis and asking the court to notify the
             defenda nt about th is case.


    Unitiol Eoch Stotementl

    _        I will keep a copy of this complaint for my records.

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    _        I declare under oenaltv of oeriurv that the statements in this complaint are true.




    Signatu re                                                                      Date


             IDO NOT write in the morgins or on the bock of ony poges. Attoch odditionol poges il necessory.l
            Case: 1:25-cv-03829 Document #: 1 Filed: 04/09/25 Page 79 of 94 PageID #:79


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                                                       CLAIMS and FACTS
       DO: Write a short and plain statement telling what each defendant did wrong.

       OO: Use simple English words and sentences.
                   DO NOT: Quote from cases or statutes, use legal terms, or make legal arguments.
       DO: Explain when, where, why, and how these events happened.
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       DO: Number any documents you attach and refer to them by number in your complaint.
                  DO NOT: lnclude the names of minors, social security numbers, or dates of birth.
       DO: Use each defendant's name every time you refer to that defendant.
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  Claims and acts (contin ued



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     Case: 1:25-cv-03829 Document #: 1 Filed: 04/09/25 Page 81 of 94 PageID #:81


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                                            CLAIMS and FACTS

DO: Write a short and plain statement telling what each defendant did wrong.
DO: Use simple English words and sentences.
           DO NOT: Quote from cases or statutes, use legal terms, or make legalarguments.
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DO: Use each defendant's name every time you refer to that defendant.
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DO: Write a short and plain statement telling what each defendant did wrong.
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          Claims and Facts (continued)




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                                                CLAIMS and FACTS

DO: Write a short and plain statement telling what each defendant did wrong.
DO: Use simple English words and sentences.
            DO NOT: Quote from cases or statutes, use legalterms, or make legal arguments.
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                    No, I am filing a Motion to Proceed ln Forma Pauperis and asking the court to notify the
                    defendant a bout this case.


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         _         I will keep a copy of this complaint for my records.

         _         I will promptly notify the court of any change of address.

         _         I declare under penalty of oeriurv that the statements in this complaint are true.




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 Claims and Facts (contin u ed )




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         defendant about th is case as requ ired by Federa I Ru le of Civil Proced ure 4. ltf you won. the
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 _        I will promptly notify the court of any change of address.                                           C)               (-t
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       Claims and Facts (continued)

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                 defenda nt about this case.


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                I will keep a copy of this complaint for my records.

                I will promptly notify the court of any change of address.

                I declare under oenaltv of oeriurv that the statements in this complaint are true.




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    Case: 1:25-cv-03829 Document #: 1 Filed: 04/09/25 Page 89 of 94 PageID #:89


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Claims and Facts (continued)




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R ELIE F      - lf you win this case, what do you want th e cou rt to order the defendant to do?




FILING FEE - Are you payins the filing fee?

     QYes, I am paying the 5405.00 filing fee. I understand that I am responsible to notify the
       defendant about th is case as required by Federa I Ru le of Civil Procedure 4. Uf you wont the
       cle* to siqn ond seol o summons, you need to prepore the summons ond submit it to the cle*,)
           No, I am filing a Motion to Proceed ln Forma Pauperis and asking the court to notify the
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_          I will keep a copy of this complaint for my records.

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Signature                                                                         Date


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     Case: 1:25-cv-03829 Document #: 1 Filed: 04/09/25 Page 90 of 94 PageID #:90


0NND R6 ./1.)                                                                                            Page 2




                                             CLAIMS and FACTS

DO: Write a short and plain statement telling what each defendant did wrong.

DO: Use simple English words and sentences.
         DO NOT: Quote from cases or statutes, use legalterms, or make legalarguments.
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                                             CLAIMS and FACTS
DO: Write a short and plain statement telling what each defendant did wrong.
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 Claims and Facts (continued)




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         Ql/es, I am paying the 5405.00 filing fee. I understand that I am responsible to notify the
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            defenda nt about th is case.


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            ldecl       under   enal     of    I u   that the statements in this complaint are true.




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                                              CLAIMS and FACTS

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                                              CLAIMS and FACTS
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